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THE UNITED STATES DISTRICT COURT s "‘:l "' ' "
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN I)IVISION

 

Rhett Webster Pease,
Plaintiff
Cause No.:

Aoz?cl am

VS.

District Judge Sam Sparks,
U.S. Marshal Jack Dean and 8 or 10
Unknown Agents,

W>Cm€@m¢€m¢m€m€mwb¢m€m

Defendants

 

COMPLAINT IN THE FORM OF A BIVENS ACTION

 

Rhett Webster Peasc, plaintiff in the above-captioned action, alleges as follows:
JURISDICTION

This is a civil action brought pursuant to Bl`vens v. Sl'x Unknown Namea'Agents of the F ederal
Bureau of Narcotics, 403 U.S. 388 (1971). The Court has jurisdiction over this action pursuant to 28
U.S.C. §§ 1331 and 2201.

PARTIES

Plaintiff, Rhett Webster Pease (Pease) is a neutral Texas civilian Who is domiciled at l2600
Limerick Avenue, Austin, Tcxas.

Defendant Jack Dean (Dean) is a United States Marshal for the Westcrn District ofTexas. Dean
can be served at 200 W. 8"‘ Strect, Austin, Tcxas.

Defendant Sarn Sparks (Sparks) is a F ederal District Judge for the Western District ofTexas.
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Judge Sparks can be served at 200 W. 8th Street, Austin, Texas

Defendants 8 or 10 Unknown Agents will be named as their identity becomes known

FACTS

On Friday, January 17, 2003, as he was leaving his home to go to work, Pease was approximately
1/2 block from his home, traveling east on Redstone. A Chevy S l 0 truck traveling west began drifting in
his direction Pease thought the driver might be drunk The driver was dressed in a plaid flannel shirt. The
pickup kept heading for his truck, and Pease realized he was about to be rammed, the man then parked
the pickup in the street, got out of the pickup and started towards Pease. As Pease put his truck in
reverse and began backing up, he heard a siren and backed into his driveway. Pease was immediately
surrounded by an unknown number of men. The man in front of Pease wore a j acket on which was written
the word “police”. Pease was ordered to get out of the truck with his hands up. Pease turned off the lights,
turned off the engine and exited the truck with his hands in the air. One of the “police” grabbed Pease’ s
shirt front to jerk him to the ground, but the shirt tore and Pease was left standing At that point two of the
“police” jumped on Pease and drove him to the ground

Several of the men were issuing orders, all of them conflicting “Tum left, turn right, followed by,
so you don’t want to cooperate ! ” They shouted that they were U. S. Marshals. Pease was dragged to
the sidewalk in front of his house Pease was grabbed by his hair and his chin was slammed into the
concrete One of the “police” stood on Pease’s head with a booted foot, while two of the “police” sat on
his back The “police” continued to shout commands, as if Pease could move. Marshal Jack Dean kept
shouting, “Shoot him, shoot himl” The “police” all had drawn guns. Pease was lying between Dean with

a drawn gun and a neighbor girl on her way to grade school The girl ran down the sidewalk, in the line

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of Dean’s fire, in terror. The “police” handcuffed Pease and placed leg irons on him. The “police’
searched Pease’s pockets and removed his money clip from his pocket and all of his change The “police”
threw all the change on the ground with the exception of 27 cents, which they replaced in his pocket.
Meanwhile other members of the “police” ransacked and searched Pease’ s truck, seizing certain items from
the truck and taking the key which Pease had left in the ignition

Pease was publically humiliated, accosted as if he was a common criminal and deeply shaken and
traumatized by the invasion of privacy and trespass by Federal Marshals.

Pease was taken to a holding cell at the Federal District Court at 200 West 8th Street, Austin,
Texas. While in the cell, the “police” were talking and stated that if they had to go to Pease’s property
again, they would shoot him. As Pease was being led from the holding cell by Dean, Dean said to Pease,
“Shut your fucking mouth. I’m the one who wanted to shoot you this morning. l hope you don’t obey
Judge Sparks’s order so I can come out again.” Pease was then taken before Judge Sam Sparks who had
issued the order to arrest Pease in total want and absence of anyjurisdiction

Sparks held a hearing for Pease to show cause why Pease shouldn’t be held in contempt for
disobeying Sparks’ s order to vacate his home, signed on October 24, 2003 and timely appealed to the
Fifth Circuit Court of Appeals, and which is currently involved in three Tcxas State cases pending before
the 3rd Court of Appeals at Austin. Sparks has issued 5 sua sponte orders in the district court while the
jurisdiction lies in the S‘h Circuit Court of Appeals. Sparks, a Federaljudge, has very limited jurisdiction
and is in absence of jurisdiction to carte blanche issue pleadings except on the motion of one of the parties
to the case. Pease’ s arrest in absence of criminal action or charge is in violation of the duties Sparks has

sworn to uphold, namely the inalienable rights extended to all Americans under the and Amendments to the

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U.S. Constitution.
FIRST CAUSE OF ACTION

Judge Sparks violated the Peases’ s protection under the Fourth Amendment One of the
protections afforded plaintiff under the Fourth Amendment is an independent limitation upon the exercise
of federal power. Judge Sparks did not issue an arrest warrant supported by probable cause, for Pease
had committed no crime. Instead, Judge Sparks, in the absence of authority or jurisdiction, signed an
Order which would result in the arrest of Rhett Webster Pease. The arrest and subsequent search were
effected without a warrant and unreasonable force was made in the arrest. The arrest was made without
probable cause. Judge Sparks has violated Pease’ s right to privacy under the Fourth Amendment and
committed trespass on Pease’ s property.

SECOND CAUSE OF ACTION

ln Judge Sparks’s zeal to effect an eviction which rightfully belongs in State courts, and for which
the U.S.A., the plaintiff in Cause No. had failed to pursue remedy in State court, the proper venue and
jurisdiction for such action, resulted in Judge Sparks’s issuing four sua sponte orders, in violation of Pease’ s
right to due process under Article Five of the U.S. Constitution. Judge Sparks’s issued these orders in bad
faith.

THIRD CAUSE OF ACTION

U.S. Marshal Jack Dean and the unknown deputies under his command, knew or should have
known that no official, be it state or federal, can summarily effect an arrest without a warrant, supported
by oath or affirmation, and particularly describing the place to be searched, and the persons or things to

be seized. Dean and 8 or 10 unknown agents know or should have known that the in absence of a valid

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warrant there exists no basis for a federal search and seizure Dean and 8 or 10 unknown agents did not
abide by the independent limitation upon the exercise of federal power, in clear violation of the Fourth
Amendment.
FOURTH CAUSE OF ACTION

Dean and 8 or l 0 unknown agents, at the behest of J udge Sparks, terrorized and threatened Rhett
Webster Pease, in clear violation of the protections afforded by the Fourth Amendment When Federal
agents converged on Pease, terrified, manhandled and seized him, they were flexing their Federal might.
Dean kept shouting, “Shoot him, shoot him” and later conveyed a threat to Pease that if Federal Marshals
had to come to Pease’ s property again, Pease would be shot. The mere invocation of federal power by
a federal law enforcement official will normally render futile any attempt to resist an unlawful entry or arrest
by resort to the local poice; and a claim of authority to enter is likely to unlock the door as well. See Weeks
v. Um`ted States, 232 U.S.. 383, 386 (1914)

FIFTH CAUSE OF ACTION

Judge Sparks and Marshall Dean, in violation of the Fourth Amendment, conspired to violate
Pease’ s right to be secure in his persons, houses, papers and effects, against unreasonable searches and
seizures. The unnecessary force applied, the humiliation, the death threats, the ultimatum given to Pease
in Judge Sparks’s court to bend to Sparks’s Federal force and will all were in violation of Pease’s Fourth
Amendment rights.

Plaintiff, Rhett Webster Pease requests a jury trial.

PRAYER FOR RELIEF

WHEREFORE, Rhett Webster Pease requests that this Court grant the following relief:

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1 . A permanent injunction against defendants upon the filing of this suit and notice to the defendants

2. That damages in the amount of $ 1 million (One Million Dollars) in monetary damages be awarded
plaintiff for injuries consequent to the Constitutional violations.

3. Costs of courts and reasonable attorneys fees.

4. Any other awards which the court deems appropriate

1 declare under penalty of perjury that the foregoing is true and correct.

 

12600 Limerick Avenue
Austin, Texas 78727
(512) 997-0146

(512) 416-1727 Fax

State of Texas }
County of Travis }
JURAT
Before me, the undersigned, a Notary Public in and for said County and State on this 2 1 st day of
January, 2003, personally appeared Rhett Webster Pease, to me known to be the identical person who
executed the within and foregoing instrument and acknowledged to me that he executed the same as his
free and voluntary act.

Given under my hand and seal the day and year last above written

My commission expires 63 ' 3 ° ' 05

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Augus: 3a 2094 Notary Public

 

 

 

 

 

 

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